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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                 ORLANDO DIVISION

                            CASE NO. 6:20-cv-00698-ORL-40LRH

   ULYSSES HOLMES, individually

          Plaintiff,
   vs.

   WCA MANAGEMENT COMPANY, L.P.,

         Defendant.
   _____________________________/

                       ORDER GRANTING PRELIMINARY APPROVAL
                           OF CLASS ACTION SETTLEMENT

          This matter is before the Court on the Plaintiff’s Unopposed Motion for Preliminary

   Approval of Class Action Settlement. (Doc. 47). The Court has carefully considered the

   Motion, the proposed Class Action Settlement Agreement and Release (“Settlement

   Agreement”), the proposed Notices of Settlement, and the declarations submitted in support of

   the Motion. Being fully advised in the premises of the proposed Class Action Settlement

   Agreement, the Court now finds and hereby GRANTS the Motion and ORDERS as follows:

          1.      All defined terms contained herein shall have the same meaning as set forth in

   the Settlement Agreement executed by the Parties and filed with the Court.

          2.      In this Action, Plaintiff alleges that Defendant violated the Employee

   Retirement Income Security Act of 1974 (“ERISA”), as amended by the Consolidated

   Omnibus Budget Reconciliation Act of 1985 (“COBRA”).

          3.      The Court has jurisdiction over the subject matter of the Action, the Class

   Representative, the Settlement Class Members and Defendant, and the Plaintiff has Article III
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   standing. Jurisdiction is retained by this Court for matters arising out of the Settlement

   Agreement.

          4.      The Court preliminarily approves the Settlement and the terms set forth in the

   Settlement Agreement, subject to further consideration at the Final Approval Hearing after

   members of the Settlement Classes have had an opportunity to consider the Settlement

   Agreement and to object to the Settlement.

          5.      Pursuant to Federal Rule of Civil Procedure 23, the Court certifies, for

   settlement purposes only, the following Settlement Class:

          All participants and beneficiaries in the Defendant’s Health Plan who were sent
          a COBRA notice by, or on behalf of Defendant, from April 1, 2016 to
          November 18, 2020, or the date of receipt by the subject participants and
          beneficiaries, whichever is later, and who did not elect continuation of
          coverage.

          6.      The Court finds that the Settlement Class meets the criteria for certification

   under Federal Rule of Civil Procedure 23(a). The class consists of approximately 1,771

   persons. Thus, the class is sufficiently numerous and joinder of all potential class members is

   impractical. For settlement purposes, there are also questions of law and fact common to the

   Settlement Class with respect to the sufficiency of the COBRA Notice. In that regard,

   Plaintiff’s claims are typical of the claims of the Settlement Class. Finally, Plaintiff and their

   counsel have fairly and adequately represented the interests of the Settlement Class.

          7.      The Court further finds that, for settlement purposes, the Settlement Class meet

   the criteria for certification under Federal Rule of Civil Procedure 23(a) and 23(b)(3).

   Prosecuting separate actions by individual Settlement Class Members would create a risk of

   inconsistent or varying adjudications with respect to individual Settlement Class Members that
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   would establish incompatible standards of conduct for Defendant, and would create a risk of

   adjudications with respect to individual Settlement Class Members that, as a practical matter,

   would be dispositive of the interests of other Settlement Class Members and would

   substantially impair or impede their ability to protect their interests.

          8.      Luis A. Cabassa and Brandon J. Hill from Wenzel, Fenton, Cabassa, P.A., are

   hereby appointed as Class Counsel for the Settlement Class.

          9.      Named Plaintiff, Ulysses Holmes, is hereby appointed Class Representative for

   the Settlement Class.

          10.     The Court finds on a preliminary basis that the terms of the Settlement are fair,

   reasonable, and adequate. The Court further finds that the Settlement is the result of arm’s-

   length negotiations, and with the assistance of a class action mediator.

          11.     The Court therefore grants preliminary approval of the Settlement.

          12.     More specifically, the Court finds and concludes that the Notices of Settlement,

   both the Short Form Postcard notice which will be mailed to Settlement Class Members, and

   the Long Form Notice which will be made available on the Settlement Administrator’s website,

   attached as Exhibit C and Exhibit D to the Preliminary Approval Motion, and the procedures

   set forth in the Settlement Agreement for providing notice to the Settlement Class, satisfies the

   notice requirements of Rule 23, adequately advises Settlement Class Members of their rights

   under the Settlement Agreement, and meets the requirements of due process. The Notices of

   Settlement fairly, plainly, accurately, and reasonably provide Settlement Class Members with

   all required information, including (among other things): (1) a summary of the lawsuit; (2) a

   clear definition of the Settlement Class; (3) a description of the material terms of the
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   Settlement; (4) a disclosure of the release of claims; (5) instructions as to how to object to the

   Settlement and a date by which Settlement Class Members must object; (6) the date, time, and

   location of the Final Approval Hearing; (7) contact information for the Settlement

   Administrator; (8) the website address for the Settlement website and the toll-free telephone

   number that Settlement Class Members may call for further information; and (9) the amount

   that Class Counsel may seek in attorneys’ fees and expenses, as well as the costs of

   administration.

          13.     The proposed plan for mailing the Short Form Postcard Notice of Settlement by

   U.S. First Class Mail to the members of the Settlement Class is an appropriate method,

   reasonably designed to reach those individuals who would be bound by the Settlement. The

   Short Form Postcard Notice will direct the Settlement Class Members to the Settlement website

   which will then provide access to additional information, including the Long Form Notice.

   Accordingly, the Court approves the Notices of Settlement, attached as Exhibit C and Exhibit

   D to the Preliminary Approval Motion, and the manner of distributing the Notices of

   Settlement to the Settlement Class.

          14.     Any Settlement Class Member who wishes to object to the Settlement must

   submit a written statement of objection to the Settlement Administrator, postmarked no later

   than 60 days after the Class Notice Date. The statement of objection must state the case name

   and number; specify the basis for the objection; state whether it applies only to the objector, to

   a specific subset of the class, or the entire class; provide the name, address, telephone number,

   and email address of the Settlement Class Member making the objection; and indicate whether

   the Settlement Class Member intends to appear at the Final Approval Hearing, either with or
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   without counsel. In addition, any statement of objection must be personally signed by the

   Settlement Class Member and, if represented by counsel, then also by counsel. Any Settlement

   Class Member who fails to timely object to the Settlement in the manner specified above shall

   be deemed to have waived any objections to the Settlement and shall be foreclosed from

   making any objections, whether by appeal or otherwise, to the Settlement.

          15.     Plaintiff’s counsel’s Motion for Attorneys’ Fees and Costs must be filed at least

   10 (ten) day’s prior to the objection deadline for class members.

          16.     The Final Approval Motion shall be filed no later than fourteen (14) days prior

   to the date of the Final Approval Hearing, and in the Final Approval Motion Class Counsel

   shall address any timely submitted objections to the Settlement.

          17.     The Court will conduct a Final Approval Hearing on January 7, 2022, at 10:30

   AM, in Courtroom 4B, which is not less than 90 days from today, to determine whether the

   Settlement is fair, reasonable, and adequate and if final approval should granted; whether any

   objections to the Settlement should be overruled; whether Class Counsel’s motion for

   attorneys’ fees and expenses should be granted.

          DONE and ORDERED this 29 day of June, 2021.




   Copies to:
   Counsel of Record
